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         Exhibit A
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BITCOIN & CRYPTO
FINANCIAL FORENSICS
PROFESSOR J.W. VERRET, JD, CPA/CFF, CFE, CVA, CCFI

ASSOCIATE PROFESSOR, GEORGE MASON UNIVERSITY SCHOOL OF LAW
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STANDARD FORENSIC PRINCIPLES

• Standards of Forensic Accounting (CPA/CFF certification)
• Standards of Fraud Examination (CFE certification)
• Principles for Certified Cryptocurrency Forensic Investigators (CCFI certification)
• Published Professor of Banking Law, Forensic Accounting, Securities & Corporate Law
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DID STERLINGOV RECEIVE BITCOIN FOG FEES?

Financial Forensic standard tools available include:
    • Net Worth/Income Indirect Analysis
    • Presence of Unexplained Assets
    • Correlation/Pattern Analysis
    • Money Laundering Habits/Typology
    • Crypto Privacy Behavior Patterns
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DO THE MATH

• Bitcoin Fog Operations Proceeds Accounting
• BTC Processed by Fog alleged by Government          1,200,000 BTC
• Fee Rate Estimate 2.0% (conservative, could stretch to 3%)
• Total Fees Received By Operator          24,000 BTC (conservative, may stretch toward 36,000 BTC)
• Govt Est. of Sterlingov Bitcoin Sourced From Bitcoin Fog        2707 BTC (implied under Glave estimate)
• Approximate BTC Remaining in the Bitcoin Fog Cluster            1354 BTC
• “Proceeds” Unaccounted For          19,939 BTC (worth $957 million at the Feb 11 $48,000
  price, worth $1.34 Billion at Bitcoin’s price peak of $67,000 in 2021)
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BITCOIN VALUE OVER TIME
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BITCOIN PIZZA DAY

• May 22, 2010 - Bitcoin Pizza Day
• 2 Pizzas bought for 10,000 BTC
• $480,000,000 Pizza today
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MR. STERLINGOV INCOME AND ASSETS

• 2010-2011 Bitcoin as low as $0.40
• 2707 BTC - Glave estimate
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PERSONAL PRIVACY

• Safety
• Most mixing is for Personal Privacy
• OpSec
• Mixing Report
• Professional Responsibility
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NO MONEY LAUNDERING

• 5 Reasons
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#1 – POST MIX KYC



• Operator of Bitcoin Fog is smarter than that.
• Gift Cards
• Prepaid Phone Cards
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#2 - MYSTERY OF THE MISSING BITCOIN

• Expected Assets of the True Bitcoin Fog Operator
• 24,000 to 36,000 BTC – Ceiling of What Bitcoin Fog Operator Has
• $1,150,000,000 ($1.15 Billion) to $1,608,000,000 ($1.6 Billion)
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#3 – TO THE MOON / BITCOASTER VENTURES

• Failed Business
• Minimal Cash-Flow
• Never functional
• Not a front for money laundering
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#4 – CODE REACTOR

• Freelance Work
• Invoices
• Client Privacy
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#5 – “PUTTING” MONEY

• Mt. Gox to Aurum Exchange to Liberty Reserve = Common Practice
• Numerous Bitcoin Talk “Putting” Posts
• Best fix for the problem
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CONCLUSION

• No financial forensic evidence that Mr. Sterlingov operated Bitcoin Fog
